Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 1 of 35




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:18-mc-00030-PAB

CSW Consulting, Inc., a Colorado
corporation; Colorado Colitas, LLC,
d/b/a Herbal Remedies, a Colorado
limited liability company; and,
Carl S. Wemhoff, an individual.

Petitioners,

v.

UNITED STATES OF AMERICA,
through its agency the INTERNAL
REVENUE SERVICE,

Respondent.
______________________________________________________________________________

                AMENDED PETITION TO QUASH SUMMONSES
______________________________________________________________________________

       PETITIONERS, CSW Consulting, Inc., a Colorado corporation, Colorado Colitas, LLC,

d/b/a Herbal Remedies, a Colorado limited liability company, and Carl Wemhoff, an individual,

by and through their undersigned attorneys, submit the following Amended Petition to Quash

Summonses.

       Pursuant to Fed.R.Civ.P. 15(a)(1)(B), this Amended Petition to Quash Summonses is

being filed as a matter of right within the time periods prescribed by Rule 15.



                   CERTIFICATION REGARDING DUTY TO CONFER

       Both parties agree that conferral for initiating pleadings is not required or necessary.

Given the numerous discussions that both parties have had, Petitioners’ counsel believes that

Respondent’s counsel will oppose the relief sought.
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 2 of 35




                      STATEMENT WITH REGARD TO STANDING

       The Petitioners are the Taxpayers that are the subject of the summonses at issue. The

records being summonsed are purportedly that of the Taxpayers. As such, the Taxpayers have the

right to petition to quash these third-party summonses. See Gudenau v. United States, 2006 U.S.

Dist. LEXIS 79896. U.S. Bank National Association and Wells Fargo Bank are both Third-Party

Recordkeepers under Section 7609. Likewise, the Marijuana Enforcement Division of the

Colorado Department of Revenue is also a Third-Party Recordkeeper under Section 7609. Both

the Federal Government and the State of Colorado have affirmed this fact. See Exhibit 1. The

summonses at issue were served upon the Petitioners on January 18, 2018. See Exhibit 2. The

Petitioners timely filed their Petition to Quash on February 7, 2018. The Petition was timely

served upon the IRS Auditor, U.S. Bank National Association, Wells Fargo Bank, and the

Colorado Department of Revenue, Marijuana Enforcement Division by certified mail return

receipt requested on February 7, 2018. The Petitioners have timely filed this Amended Petition to

Quash within the time periods prescribed by Rule 15 on April 10, 2018.

  I.   INTRODUCTION

       The Government alleges that the Petitioners have violated federal law – that they are

unlawfully trafficking in marijuana. To this end, the Government, through the IRS, claims that

Section 280E of the Tax Code is applicable. Section 280E disallows deductions to unlawful drug

traffickers. Through these summonses, the Government seeks to establish the necessary elements

of unlawful drug trafficking to apply Section 280E.

       The Government has contended that it has the right and duty to share the same

information obtained with the Department of Justice and other law enforcement agencies for

criminal prosecution purposes. The Government makes general assertions that the Petitioners do




                                               2
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 3 of 35




not have sufficient evidence demonstrating this information sharing, but never outright denies

that it is doing so. Also, the Government’s actions are coming contemporaneously with Attorney

General Jeff Sessions’ rescinding of the Cole and Ogden memos – an indication that criminal

prosecutions of the marijuana industry may be imminent.

       As will be discussed further below, the petition to quash should be granted because:

          •   The IRS has not completed the administrative steps necessary for the issuance of
              a summons;

          •   The summonses were not issued for a legitimate purpose because the IRS has not
              been given authority by Congress to investigate and administratively determine
              that a person has committed a nontax drug crime;

          •   The summonses are not relevant to any legitimate purpose;

          •   The continuation of the IRS’s investigation into nontax drug crimes and resulting
              summonses without referral to the Justice Department violates the “good faith”
              standard under Powell;

          •   The IRS cannot compel taxpayer information about nontax crimes for tax
              purposes without a concurrent grant of immunity;

          •   That IRC Section 280E is unconstitutional as violative of Fifth Amendment
              privilege and Fourth Amendment rights. As such, any investigation for the
              purpose of enforcing Section 280E is an improper purpose.

          •   The summonses violate the Petitioners rights to privacy under the Fourth
              Amendment;

          •   The request for “all associated licensees related to the individuals and entities
              listed” is unenforceable because it is overbroad;

          •   The enforcement of the summonses against the State of Colorado would compel a
              person to commit a state law crime, and the Court should not use its powers to
              compel individuals to commit such criminal activity; and,

          •   The IRS cannot compel the State of Colorado to create reports which are not
              currently in existence.




                                               3
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 4 of 35




 II.   FACTS AND BACKGROUND

          A. The Audit.

       Petitioner CSW Consulting, Inc. (“CSW”) is a Colorado corporation in good standing.

On or about August 3, 2017, Mr. Hewell provided an Information Document Request (“IDR”) to

CSW for 2013, 2014, and 2015 documents. See Exhibit 3. On or about September 27, 2017, Mr.

Hewell provided a second IDR to CSW for additional documents. See Exhibit 4.

       On or about December 19, 2017, Mr. Hewell issued a third IDR to CSW for additional

2013, 2014, and 2015 documents, as well as 2016 documents. See Exhibit 5. Importantly, no

notice of audit was issued for the 2016 tax period. It is also important to note that, between

September and December of 2017, Mr. Wemhoff received no communication from Mr. Hewell

regarding his audit. See Declaration of Carl Wemhoff, attached hereto. In discussions between

Mr. Hewell and counsel, Mr. Hewell indicated that he did not want to move forward with the

audit but was directed by his supervisor to issue the third IDR in December of 2017. Instead of

moving forward with the audit, Mr. Hewell issued summonses for information regarding CSW to

U.S. National Bank Association, Wells Fargo Bank, and the Colorado Department of Revenue,

Marijuana Enforcement Division, requesting information for the period of January 1, 2013

through December 31, 2016 on or about January 18, 2018. See Exhibit 2.

       Petitioner Colorado Colitas LLC, d/b/a Herbal Remedies (“Herbal Remedies”), is a

Colorado limited liability company in good standing. Significantly, Mr. Hewell never issued a

notice of audit or any IDRs to Herbal Remedies. Nevertheless, on or about January 18, 2018, Mr.

Hewell issued summonses for information regarding Herbal Remedies to U.S. National Bank

Association, Wells Fargo Bank, and the Colorado Department of Revenue, Marijuana

Enforcement Division. See Exhibit 2.




                                              4
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 5 of 35




       Petitioner Carl Wemhoff is an individual taxpayer. On or about December 19, 2018, Mr.

Hewell issued an IDR to Mr. Wemhoff for 2014, 2015, and 2016 documents. However, Mr.

Hewell only provided a notice of audit for the 2014 and 2015 tax years. See Exhibit 6. Rather

than carrying on the audit at this time, Mr. Hewell issued summonses for information regarding

Mr. Wemhoff to U.S. National Bank Association, Wells Fargo Bank, and the Colorado

Department of Revenue, Marijuana Enforcement Division on or about January 18, 2018. See

Exhibit 2. Mr. Wemhoff has asserted Fifth Amendment privilege and asserts that Section 280E

violates his Fifth Amendment rights.

       In the IDRs, Mr. Hewell repeatedly requested the Petitioners to obtain reports from the

State of Colorado’s METRC system. See Exhibits 3-6. The reports requested were the same as

demanded in the summons. See Exhibit 2. Mr. Hewell has not explained why these reports are

relevant or why these third-party analytical reports are necessary for his examination. It is

important to note, as discussed further below, METRC does not contain any financial

information of substance. It is a plant tracking system. The only information the Government

will receive through these summonses will be related to the alleged possession and distribution

of marijuana.

       Through discussions with Petitioner’s counsel, Mr. Hewell has been clear that the focus

of his audit is to investigate whether the Petitioners were unlawfully trafficking in a controlled

substance. Since the information the IRS seeks to obtain through the IDRs and summonses is the

same information that could be used by the Department of Justice to “convict overwhelmingly”

(possession and distribution of marijuana), the Petitioners requested that immunity be granted.

The IRS has the power to grant Petitioners immunity. See 18 USC §6004. However, Mr. Hewell

has confirmed in writing that no immunity will be granted. See Exhibit 7.




                                                5
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 6 of 35




       Given the admission by the IRS that this audit is, at least in part, an investigation of

whether the taxpayers violated federal criminal drug laws, and the fact that the Respondent is

reserving all rights to prosecute, Carl Wemhoff is fully asserting Fifth Amendment privilege. See

Declaration of Carl Wemhoff, attached hereto.

           B. The Summonses.

       In discussions with Petitioners’ counsel, Mr. Hewell has been clear that the focus of his

audit is to investigate whether the Petitioners were unlawfully trafficking in controlled

substances to impose 26 U.S.C. §280E against Petitioners.

       To investigate this alleged criminal activity, Mr. Hewell issued summonses to obtain

banking information about the Petitioners from U.S. Bank National Association and Wells Fargo

Bank for the period of January 1, 2013 through December 31, 2016. Mr. Hewell also issued a

summons to the Colorado Department of Revenue, Marijuana Enforcement Division (“MED”),

requesting employees of the MED to create custom analytical reports based upon raw data

purportedly provided by the Petitioners to the State. Specifically, Mr. Hewell is demanding that

the State prepare the following analytical reports of the Taxpayers’ raw data through its database

known as Marijuana Enforcement Tracking Reporting Compliance system, commonly known as

METRC:

           •   Copy of the METRC Annual Gross Sales Report for the period of January 1, 2013
               through December 31, 2016;

           •   Copy of the METRC Transfers Report for the period of January 1, 2013 through
               December 31, 2016;

           •   Copy of the METRC Annual Harvest Report for the period of January 1, 2013
               through December 31, 2016;

           •   Copy of the METRC Monthly Plants Inventory Report for the period of January
               1, 2013 through December 31, 2016; and,




                                                6
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 7 of 35




           •   All associated licensees related to the individuals and entities listed for the period
               of January 1, 2013 through December 31, 2016.

       To this end, the IRS has converged on Colorado and is conducting mass audits of those it

has determined to be unlawfully trafficking in controlled substances. The IRS is dishing out

summonses like candy to establish that taxpayers are unlawfully trafficking in controlled

substances. For example:

       The IRS made initial findings that Green Solution trafficked in a controlled
       substance and is criminally culpable under the CSA. The IRS then requested that
       Green Solution turn over documents and answer questions related to whether
       Green Solution is disqualified from taking credits and deductions under § 280E. It
       is undisputed the IRS has not made an assessment or begun collection
       proceedings.

Green Sol. Retail, Inc. v. United States, 855 F.3d 1111, 1113 (10th Cir. 2017). See also,
Futurevision, LTD v. United States, 1:17-mc-00041-RBJ (D. Colo.) (IRS summonsing METRC
claiming that the Petitioner unlawfully trafficked in a controlled substance.); Nutritional
Elements v. United States, 16-MC-0188-PAB (D. Colo.) (Same); Nutritional Elements v. United
States, 17-mc-00052-RM (D. Colo.) (Same); Colorado’s Best, Inc. v. United States, 1:17-mc-
00154-RBJ (D. Colo.) (Same); Green Solution, Inc. v. United States, 1:16-mc-00137-PAB (D.
Colo.) (Same); Eric Speidell, 1:16-mc-00162-PAB (D. Colo.) (Same); Medicinal Wellness
Center, LLC v. United States, 1:17-mc-00170-PAB (D. Colo.) (Same); Rifle Remedies, LLC v.
United States, 1:17-mc-00062-RM (D. Colo.) (Same); Standing Akimbo, LLC v. United States,
1:17-mc-00169-WJM-KLM (D. Colo.) (Same); High Desert Relief, Inc. v. United States, 1:16-
CV-469 MCA/SCY (D. N.M.) (IRS summonsing information from New Mexico Medical
Cannabis Program claiming that the Petitioner unlawfully trafficked in a controlled substance.);
High Desert Relief, Inc. v. United States, 1:16-CV-816 MCA/SCY (D. N.M.) (Same); and
Feinberg v. C.I.R., 808 F.3d 813 (10th Cir. 2015).

       Despite the Government’s assertion that it seeks the information solely to assess tax, the

audit investigation and Section 280E are directed to an area “permeated with criminal statutes”,

towards a group “inherently suspect of criminal activities”. Marchetti v. United States, 390 U.S.

39 (1968). As a result, the standard analysis of the regulatory tax system does not apply. This is

because the IRS’s investigation of inherently criminal activity poses a “constitutional difficulty”

– sacrificing Fourth and Fifth Amendment rights when the information is compelled. When the

IRS attempts to use the tax power to engage in such investigative activity, there has been specific



                                                 7
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 8 of 35




standards which have been developed. As will be discussed further below, the IRS summons

does not meet the special standards for investigating those inherently suspect of criminal

activities and must be quashed.

           C. The METRC System.

       METRC is a database tracking system used for marijuana regulatory compliance in the

State of Colorado. See Exhibit 8. The Department of Revenue, Marijuana Enforcement Division

(“MED”) controls METRC. Id. Information regarding the tracking of marijuana plants is input

into METRC so there can be a “traceable chain of custody” of the plants. Id. at 14. Those who

are subject to the regulation must submit raw data to MED, which is placed into the METRC

database. Id. Based upon this raw data “the regulatory body can use the reporting engine to build

ad hoc reports based on their individual needs.” Id.

       It is important to note that there is no business, accounting, or financial information

provided to METRC. C.R.S. §12-43.3-701 and CCRM 901-904 only require that the licensee’s

business information be located on the licensee’s premises and be available for review by MED.

The licensee’s business, accounting and financial information is not input into METRC. METRC

is for a completely different purpose – to trace the chain of custody of the plants. Accordingly,

the only information the Government will receive through these summonses will be related to the

alleged possession and distribution of marijuana.

       Notably, this information is confidential. MED must:

       Maintain the confidentiality of reports or other information obtained from a
       medical or retail licensee containing any individualized data, information, or
       records related to the licensee or its operation, including sales information,
       financial records, tax returns, credit reports, cultivation information, testing
       results, and security information and plans, or revealing any patient information,
       or any other records that are exempt from public inspection pursuant to state law.

C.R.S. § 12-43.3-202(d).



                                                 8
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 9 of 35




       Moreover, disclosure of METRC information is a state-law crime:

       Any person who discloses confidential records or information in violation of the
       provisions of this article commits a class 1 misdemeanor and shall be punished as
       provided in section 18-1.3-501, C.R.S.

C.R.S. §12-43.3-201(5).

       A class 1 misdemeanor carries a penalty of up to eighteen months imprisonment and a

five thousand dollar fine. C.R.S. 18-1.3-501.

       There is no exception in the statutes allowing disclosure of METRC information to

federal authorities. This makes sense given the current tension between federal and state law.

Thus, if the Court orders MED to disclose this confidential information, one or more state

employees will be compelled to commit a crime.

           D. Background of Federal Criminal Drug Laws.

       Federal laws prohibiting the possession and distribution of marijuana have been around

since the 1930s. For purposes of this discussion, the relevant statutes begin with the Narcotics

Control Act. On or about July 18, 1956, Congress passed the Narcotics Control Act. Public Law

728; - 84th Congress Chapter 629 - 2d Session H.R. 11619 All 70 Stat. 567 (“NCA”). The NCA

penalized the possession and distribution of marijuana as well as taxed the possession thereof.

Id., Sec. 101. The NCA was made part of the Internal Revenue Code with the Department of

Treasury/IRS being the agency in charge of its enforcement. Id.

       In 1969, the Supreme Court in Leary v. United States, 395 U.S. 6 (1969) declared parts of

the NCA unconstitutional. The Court was especially concerned that the NCA required disclosure

of a criminal act (sale/possession of marijuana) to the IRS for tax purposes, but allowed for

sharing of the same information for criminal prosecution purposes. Id. The Leary Court

discussed the Fifth Amendment “constitutional difficulty” of compelling a taxpayer to disclose




                                                9
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 10 of 35




 facts of a federal crime for tax purposes, while allowing these same facts to be shared by the

 government for prosecution purposes. Id. at 26.

        In response to Leary, Congress repealed the NCA and adopted the Comprehensive Drug

 Abuse Prevention and Control Act of 1970 (“CSA”). Public Law 91-513, now codified in 21

 U.S.C. §801, et seq. Congress adopted important provisions to comply with Leary. First, the

 jurisdiction of the Department of Treasury/IRS to investigate federal drug crimes was removed

 and given to the Attorney General and, by delegation, Department of Justice. See 21 U.S.C.

 §871. Second, the CSA precluded the Attorney General, and any of its delegates thereof, from

 obtaining financial records from the subjects of its investigation of violations of federal criminal

 drug laws. See 21 U.S.C. §880(b)(4). Congress further clarified that the Secretary of Treasury’s

 only remaining authority over federal criminal drug laws is with respect to customs and import

 and export of drugs out of the country. See 21 U.S.C. §966. Thus, Congress created a “Chinese

 wall” between the IRS and the investigation of violations of federal criminal drug laws. This wall

 is an important component of the CSA to assure that the amended Tax Code and the CSA did not

 infringe on the “constitutional difficulty” expressly addressed by repeal of the NCA.

        Similarly, in Marchetti v. United States, supra., the Court found unconstitutional the

 Wagering Tax Act because the IRS could compel information of inherently criminal activity and

 share it with law enforcement. The Court noted that while Congress can tax such illegal activity,

 there are constitutional limitations:

        We are fully cognizant of the importance for the United States' various fiscal and
        regulatory functions of timely and accurate information (citation omitted); but
        other methods, entirely consistent with constitutional limitations, exist by which
        Congress may obtain such information.

 Marchetti v. United States, 390 U.S. at 60.




                                                   10
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 11 of 35




        The Supreme Court cited to Counselman v. Hitchcock, 142 U.S. 547 (1892) for its

 authority. In Counselman, the Supreme Court held that if Congress wishes to use its tax power to

 compel books and records, Congress must afford absolute immunity against future prosecution

 “for the offence to which the question relates.” Counselman, 142 U.S. at 586. In this case, the

 “offense to which the question relates” is unlawful drug trafficking. Thus, absolute immunity

 from prosecution under federal criminal drug laws should be afforded to the Petitioners.

        Congress corrected the constitutional difficulty by prohibiting IRS from sharing the

 incriminating evidence with law enforcement and provided absolute immunity from prosecution.

 See 26 U.S.C. § 4424; see also United States v. Sahadi, 555 F.2d 23 (2d Cir. 1977) (discussing

 the corrective actions taken by Congress to cure the constitutional difficulty in the wagering

 excise tax laws); see also, IRS Manual, Section 11.3.26 (limitations on use of wagering

 information). Without these protections, the IRS investigations create a “constitutional

 difficulty” of impermissible Fourth and Fifth Amendment violations. Since 280E provides no

 such constitutional protections, Section 280E is unconstitutional.

            E. Section 280E.

        Section 280E is very concise:

        No deduction or credit shall be allowed for any amount paid or incurred during
        the taxable year in carrying on any trade or business if such trade or business (or
        the activities which comprise such trade or business) consists of trafficking in
        controlled substances (within the meaning of schedule I and II of the Controlled
        Substances Act) which is prohibited by Federal law or the law of any State in
        which such trade or business is conducted.

 26 U.S.C. §280E

        The elements of Section 280E are: (1) person; (2) in the person’s trade or business; (3)

 “traffics”; (4) in a Schedule I or II controlled substance; (5) prohibited by federal or state law.

 26 U.S.C. § 280E. Thus, for Section 280E to apply, the taxpayer must have engaged in unlawful



                                                 11
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 12 of 35




 drug trafficking – a nontax crime. Since the sale of marijuana is lawful in Colorado, the

 unlawfulness would have to be found in federal law, e.g., the Controlled Substances Act, 18

 U.S.C. §801, et seq. Section 280E is therefore only applicable to unlawful drug traffickers.

        Historically, the application of Section 280E by the IRS came after a conviction of drug

 law violations. See, e.g., Bender v. Comm., T.C. Memo 1985-375; Sundel v. Comm., T.C. Memo

 1998-78. However, the IRS became more aggressive after states began to make the sale of

 marijuana legal and the Justice Department declined to enforce federal marijuana laws. See

 Memorandum by David W. Ogden, Deputy Att'y Gen., U.S. Dep't of Justice to Selected U.S.

 Att'ys (Oct. 19, 2009), revised by Memorandum from James M. Cole, Deputy Att'y Gen., U.S.

 Dep't of Justice (Aug. 29, 2013). By the time of Feinberg v. C.I.R., 808 F.3d 813 (10th Cir.

 2015), the IRS was in full swing of administratively determining that taxpayers selling state-legal

 marijuana were criminally culpable under federal law. For example:

        The IRS made initial findings that Green Solution trafficked in a controlled
        substance and is criminally culpable under the CSA.

 Green Sol. Retail, Inc. v. United States, 855 F.3d 1111, 1113 (10th Cir. 2017).

        At this time, the Government took the position that, given the Cole and Ogden memos,

 the taxpayer did not have to worry about prosecution based upon IRS investigations. Even then,

 the Court was skeptical:

        So it is the government simultaneously urged the court to take seriously its claim
        that the petitioners are violating federal criminal law and to discount the
        possibility that it would enforce federal criminal law.

 Feinberg, supra.

        Now, most recently, Attorney General Jeff Sessions has rescinded the Cole and Ogden

 memos, raising the distinct possibility that the Government will move forward on criminal

 prosecutions against those in the marijuana industry. See Exhibit 10. So, it cannot be ignored that



                                                 12
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 13 of 35




 these summonses come at a time where the threat of criminal prosecution is real and potentially

 imminent.

         Given the Government’s assertion that the information summoned can and will be shared

 with federal law enforcement, the Court should take special care in determining the outcome of

 these petitions.

 III.    ARGUMENT

             A. Standard of Review.

         To be enforceable, a summons issued by the IRS must satisfy the standard set forth in

 United States v. Powell, 379 U.S. 48 (1964). See, e.g., United States v. Balanced Fin. Mgmt.,

 Inc., 769 F.2d 1440, 1444 (10th Cir. 1985). In Powell, the Court held that the IRS need not meet

 any standard of probable cause if the Commissioner can show that:

             1) The investigation will be conducted pursuant to a legitimate purpose;

             2) The inquiry may be relevant to the purpose;

             3) The information sought is not already within the Commissioner’s possession; and,

             4) The administrative steps required by the Code have been followed – in particular,

                that the IRS, after investigation, has determined the further examination to be

                necessary and has notified the taxpayer in writing to that effect.

 See Id. (quoting Powell, 379 U.S. at 57-58).

        Once the government makes a sufficient preliminary showing for enforcement under the

 Powell factors, the burden shifts to the taxpayer to disprove one of the four Powell criteria, or to

 demonstrate that judicial enforcement should be denied on the ground that it would be "an abuse

 of the court's process” or “on any appropriate ground.” United States v. Beacon Federal Sav. &

 Loan, 718 F.2d 49, 52 (2d Cir. 1983). See also United States v. Powell, 379 U.S. at 58, quoting




                                                 13
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 14 of 35




 Reisman v. Caplin, 375 U.S. 440, 449. When a taxpayer does so, the court must go above and

 beyond the Powell factors to decide whether to enforce a summons. United States v. Beacon

 Federal Sav. & Loan, 718 F.2d at 52. Potential constitutional violations are issues which should

 be addressed when considering enforcement of a summons. Id. at 53 (noting that the IRS, like all

 other governmental agencies, must obey the Constitution).

        Additionally, the IRS should not be allowed to use its summons power to conduct a

 “fishing expedition” on the records of third parties only tangentially related to the finding of

 taxpayer’s income and expenses. United States v. Coopers & Lybrand, 550 F.2d 615, 619-20

 (10th Cir. 1977). A summons should only be issued when: (1) the information required is vital to

 the investigation; (2) the taxpayer or third-party summonee is unreasonably refusing to

 cooperate; and (3) the information cannot be easily obtained from other sources. See, G.

 SUMMONS AND ENFORCEMENT by George Johnson and                              Marvin Friedlander.

 https://www.irs.gov/pub/irs-tege/eotopicg93.pdf. Defendants fail to meet these elements and the

 elements set forth in Powell.

            B. The IRS Has Not Satisfied The Requirements Set Forth in United States v.
               Powell.

        As explained above, to enforce a summons, the IRS must show: (1) the investigation will

 be conducted pursuant to a legitimate purpose; (2) the inquiry may be relevant to the purpose; (3)

 the information sought is not already within the Commissioner’s possession; and, (4) the

 administrative steps required by the Code have been followed – in particular, that the IRS, after

 investigation, has determined the further examination to be necessary and has notified the

 taxpayer in writing to that effect. United States v. Powell, 379 U.S. 48 (1964). As explained

 below, the IRS has not satisfied this standard in the case at hand. Accordingly, the Court should

 not enforce the summonses.



                                                14
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 15 of 35




                    1. The IRS Has Not Completed the Administrative Steps Necessary for
                       the Issuance of a Summons.

        To comply with the Powell requirements, the administrative steps required by the Code

 must be followed. The Internal Revenue Manual states, “All possible efforts should be made to

 contact taxpayers whose cases are to be examined.” See IRM 4.22.6.2. In this case, there is

 nothing in the record to show that the IRS has served the CSW or Carl Wemhoff with a Notice of

 Audit for 2016. Moreover, there is no evidence that the IRS has opened Herbal Remedies for

 audit of any of the tax periods listed on the summonses. Thus, the IRS has failed in this step.

                    2. The Summonses Were Not Issued for a Legitimate Purpose Because
                       Congress Did Not Empower the IRS to Investigate Violations of
                       Federal Criminal Drug Laws.

        As the Powell Court stated, the IRS summons must be for a legitimate purpose. If the

 summons is not for a legitimate purpose, e.g., if the subject of the investigation is beyond the

 agency’s authority, the summons is not for a legitimate purpose and it must be quashed.

 Burlington Northern Ry. Co. v. Office of Inspector General, 983 F.2d 631, 641 (5th Cir. 1993).

        In the circumstances here, it is clear that the purpose of these summonses is not to

 determine income or expenses, but to determine whether the Petitioners have violated the CSA in

 order to apply Section 280E. However, Section 280E contains no language authorizing the IRS

 to investigate or administratively determine that a taxpayer is unlawfully trafficking in a

 controlled substance. Thus, the IRS does not have the power to take those actions. If Congress

 wants to assign the executive branch discretion to administratively define criminal conduct, it

 must speak "distinctly." United States v. Grimaud, 220 U.S. 506, 519 (1911); United States v.

 Eaton, 144 U.S. 677, 688 (1892). This is because criminal statutes "are for courts, not for the

 Government, to construe." Abramski v. United States, 134 S. Ct. 2259, 2274 (2014).




                                                 15
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 16 of 35




         This clear-statement rule reinforces horizontal separation of powers in the same way that

 Gregory v. Ashcroft, 501 U.S. 452 (1991) reinforces vertical separation of powers. It compels

 Congress to legislate deliberately and explicitly before departing from the Constitution's

 traditional distribution of authority.

         There has been no specific delegation of authority by Congress to the IRS to determine

 under what circumstances a taxpayer violates the CSA. It is completely absent in the Tax Code –

 especially Section 280E. In fact, as discussed above, Congress took away the IRS authority to

 investigate and find violations of federal criminal drug laws to comply with Leary.

         To conclude otherwise would seriously question the constitutionality of Section 280E.

 As discussed above, a tax statute which allows (1) the IRS to investigate and compel

 incriminating evidence of nontax crimes; (2) share the incriminating evidence with law

 enforcement; and (3) without a grant of absolute immunity, renders the statute invalid and

 unconstitutional. Counselman, supra.; Marchetti, supra.; Leary, supra. “Where fairly possible,

 courts should construe a statute to avoid a danger of unconstitutionality”. Ohio v. Akron Center

 for Reproductive Health, 497 U.S. 502, 514 (1990). Giving the authority to the IRS to

 administratively investigate and determine nontax crimes would certainly jeopardize the

 constitutionality of Section 280E and should not be allowed.

         Furthermore, the Government incorrectly asserts that the Court of Appeals in Green

 Solution Retail v. United States, 855 F.3d 1111 (10th Cir. 2017) gave the IRS authority to

 administratively investigate and determine violations of federal criminal drug laws. As the Green

 Solution court stated:

         To the extent Green Solution argues the IRS exceeded its authority under the
         Internal Revenue Code, we lack subject matter jurisdiction to consider the merits
         of the argument. We decide here only that the IRS’s efforts to assess taxes based
         on the application of § 280E fall within the scope of the AIA. (Emphasis Added)



                                                16
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 17 of 35




 Id., at n.8.

         Allowing the IRS to obtain information in excess of its powers would violate the

 legitimate purpose requirement of Powell. United States v. Powell, 379 U.S. at 57-58. Because

 the summonses were not issued for a legitimate purpose – i.e., investigations of crimes outside

 the tax code – the IRS must satisfy the probable cause standard. See generally United States v.

 Powell, 379 U.S. at 57-58. See also Camara v. Municipal Court, 387 U.S. 523 (1967).

         Since Congress did not empower the IRS to investigate violations of federal criminal

 drug laws, the summonses are not issued for a legitimate purpose and should be quashed.

                    3. The Summonses Are Not Relevant to Legitimate Purpose.

         As stated above, the IRS does not have the authority to investigate whether a taxpayer has

 violated the CSA. To give the IRS this power would create the constitutional difficulty identified

 by the Leary Court.

         The IRS may claim that it needs the requested information to determine the Petitioners’

 “income and expenses” for the tax years in question. However, the Government has already

 conceded that METRC information is not relevant to a determination of income and expenses as

 claimed by the IRS. In another case in which the undersigned is counsel of record, the IRS

 obtained the requested METRC information recently issued an assessment. In denying all

 expense deductions, the Revenue Agent states: “METRC data does not track purchases other

 than tracking the amount of marijuana transferred in. This report only tracks the amounts,

 not the costs; therefore, there is no verification in METRC to support any COGS.” See Exhibit

 X, emphasis added. Thus, the IRS has admitted that the METRC information is not relevant to a

 determination of income and expenses. Accordingly, the summonses for METRC information

 are not relevant to any legitimate purpose the IRS may put forth.



                                                 17
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 18 of 35




                    4. The Investigation into Inherently Criminal Activity is Not in Good
                       Faith.

        The absence of a Justice Department referral is a statutory requirement for the issuance of

 a summons or the commencement of an enforcement action. See 26 U.S.C. § 7602(d). However,

 the IRS does not need to issue a referral to the Justice Department in order to share information

 regarding nontax crimes. The IRS may disclose return information that may be evidence of a

 nontax federal crime to the Department of Justice in its discretion. See IRC §6103(i)(3)(A). The

 IRS is not acting in good faith by circumventing the requirement that a summons may not be

 enforced when there is a Justice Department referral in effect.

        Moreover, there is an additional requirement for finding that the IRS is acting in good

 faith – that the "Service not abandon in an institutional sense ... the pursuit of civil tax

 determination or collection.” United States v. LaSalle Nat'l Bank, 437 U.S. 298, 309 (1978);

 United States v. Lamotte, 2016 U.S. Dist. LEXIS 61704 1. The Supreme Court has made clear

 that an improper purpose includes obtaining evidence when the IRS is seeking evidence of

 nontax crimes which can be used as evidence in a criminal prosecution. Reisman v. Caplin, 375

 U.S. 440 (1964).

        To encourage the use of administrative subpoenas as a device for compulsory
        disclosure of testimony to be used in presentments of criminal cases would
        diminish one of the fundamental guarantees of liberty. Moreover, it would
        sanction perversion of a statutory power.

 United States v. O'Connor, 118 F. Supp. 248, 251 (D. Mass. 1953).




 1
   The referral requirement dealt with the referral of tax fraud crimes and the Supreme Court’s
 analysis of the civil and criminal components of tax fraud. See LaSalle, at 308. (“With regard to
 suspected fraud, these duties encompass enforcement of both civil and criminal statutes.”).
 Reisman, supra., analyzed the criminal investigatory powers of the IRS with respect to nontax
 crimes.


                                                 18
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 19 of 35




        The IRS continues to claim, in an institutional sense, that the Petitioners, as well as many

 others, are violating federal criminal drug laws by selling marijuana – and that Section 280E

 must therefore be investigated and applied. However, the Government does not explain why the

 IRS fails to refer the alleged “obvious” crimes to Department of Justice for prosecution,

 continues investigation, and then asserts that it has the right and duty to turn over the fruits of its

 investigation to law enforcement for prosecution of nontax crimes.

        The IRS is not acting in good faith by alleging and investigating by means of summons

 inherently criminal activity but that may be shared with law enforcement but fail to officially

 refer the matters to the Department of Justice. Reisman v. Caplin, supra., LaSalle, supra. At that

 juncture, the IRS improperly becomes an information gathering agency for law enforcement. Id.

 This is especially so given the recent Memorandum by Attorney General Sessions rescinding the

 Cole and Ogden memos.

        Given the lack of good faith by the IRS, the summonses should be quashed or not

 enforced.

             C. The IRS Cannot Investigate Nontax Crimes Without a Grant of Immunity.

        As discussed above, the Supreme Court has made clear that the Government cannot use

 the tax power to compel books and records to determine nontax crimes without a grant of

 absolute immunity if that information can be shared with law enforcement agencies for

 prosecution purposes. Counselman, supra.; Marchetti, supra.; Leary, supra.

        In this case, the IRS may share the incriminating evidence of drug trafficking with the

 Department of Justice in its discretion. See 26 U.S.C. §6013(i)(3). The Government’s position is

 clear – it claims that it not only has the right but the duty to share the incriminating information




                                                   19
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 20 of 35




 with the Department of Justice that it obtains through these 280E audits and cannot agree to any

 limitation on use or immunity:

        [T]he IRS could not agree to such a condition, because I.R.C. § 6103(i) requires
        the IRS to turn over documents received from taxpayers to other federal agencies
        in certain circumstances.

 Government Response Brief, High Desert Relief v. United States, 17-2083, p. 47 (also attached
 hereto as Exhibit 11).

        So, the IRS simultaneously asserts that the investigation of violations of federal criminal

 drug laws is “strictly civil”, but is compelled to share the same incriminating information to law

 enforcement for prosecution purposes. It is also clear that the government is reserving all rights

 to use this information in a nontax criminal prosecution. Petitioners requested that absolute

 immunity be granted. Despite the fact that the IRS has the power to grant Petitioners immunity

 under 18 USC §6004, Mr. Hewell confirmed in writing that no immunity will be granted. See

 Exhibit 7.

        Until immunity is granted, the Court should not grant the summonses to allow the IRS to

 obtain the allegedly incriminating information. Any constitutional reading of Section 280E

 would require immunity. Without immunity, any such investigation would be for an improper

 purpose.

              D. Section 280E is Unconstitutional as Violative of Fifth Amendment Privilege
                 and Fourth Amendment Rights. As such, Any Investigation for the Purpose
                 of Enforcing Section 280E is an Improper Purpose.

        The Government contends that Section 280E gave the IRS the power to investigate

 nontax crimes for tax administration purposes because Section 280E disallows all deductions to

 those engaged in drug trafficking crimes. It cites 26 U.S.C. Sections 6201 and 280E for its

 authority. However, if 280E gives the IRS authority to investigate federal criminal drug law

 violations for tax administration purposes, Section 280E is in the crosshairs of



                                                20
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 21 of 35




 unconstitutionality.

        The Government concedes that pursuant to Section 280E, the IRS may compel the

 information from the taxpayer for federal criminal drug law crimes, and share the information

 with the Department of Justice or other law enforcement agencies. As above below, the Supreme

 Court has rejected such an ability to compel incriminating information for tax administration

 purposes, and share. There is an impermissible “constitutional difficulty” to such a power. See

 Leary v. United States, 390 U.S. 6 (1969); Marchetti v. United States, 390 U.S. 39 (1969);

 Grosso v. United States, 390 U.S. 62 (1969); and Haynes v. United States, 390 U.S. 85 (1969).

        Based upon the above cases, and as discussed further below, Section 280E is

 unconstitutional. In violation of the Fifth Amendment, the IRS is unconstitutionally allowed to

 compel information from the taxpayer in an area “permeated with criminal statutes.” Section

 280E contains no prohibitions in sharing the compelled incriminating information with law

 enforcement. Accordingly, Section 280E is unconstitutional.

                       1. The Constitutional Difficulty.

         Under Leary line of cases, the IRS may not investigate illegal drug trafficking activity

 absent constitutional protections. This is so when the IRS investigates an area “permeated with

 criminal statutes”.

        As the Government concedes, the IRS is investigating “illegal conduct for the purpose of

 determining the correct tax liability.” The Government also concedes that Section 280E only

 applies to unlawful drug traffickers. The Government claims that since it administratively found

 the Petitioners are unlawful drug traffickers (they purportedly sold marijuana), it must impose

 Section 280E. The investigation and summonses are being done to further this purpose.




                                                 21
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 22 of 35




         To this end, it is clear that the Government’s investigation under Section 280E is “not

 asserted in an essentially noncriminal and regulatory area of inquiry [but is] in an area permeated

 with criminal statutes.” Albertson v. Subversive Activities Control Bd., 382 U.S. 70, 79 (1965).

 Also, responses to the IRS’s investigation of unlawful drug trafficking could require an

 “admission of a crucial element of a crime.” Id. Thus, Section 280E raises the constitutional

 difficulty identified by the Supreme Court in Leary.

                     2. The Elements of the Constitutional Difficulty.

         The first element of the constitutional difficulty arises when the IRS can use its tax power

 to investigate and compel books and records in "an area permeated with criminal statutes,"

 against taxpayers who are "inherently suspect of criminal activities." Marchetti v. United States,

 390 U.S. at 47.

         Unlawful trafficking of marijuana is such an area. Fla. Dep't of Revenue v. Herre, 935

 So. 2d 536 (Fl. S.Ct. 1994). In determining a state statute taxing illegal drug trafficking was

 unconstitutional, the Florida Supreme Court stated:

         “Section 212.0505 taxes those persons who illegally traffic in marijuana and other
         controlled substances, and, therefore, it satisfies the Marchetti limitation that the
         statute be directed to a "selective group inherently suspect of criminal activities."

 Herre, 935 So. 2d at 620.

         Section 280E likewise only applies to persons who are engaging in illegal drug

 trafficking – in this case the alleged unlawful sale of marijuana. Thus, Section 280E satisfies the

 Marchetti limitation that the statute be directed to a "selective group inherently suspect of

 criminal activities."

         The second element of the Constitutional difficulty is that the statutory tax scheme

 requires taxpayers to disclose information they "might reasonably suppose would be available to




                                                  22
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 23 of 35




 prosecuting authorities." Marchetti, 390 U.S. at 48. This element of the constitutional difficulty

 is also present here. As it was in Leary, Grosso, Marchetti, and Haynes, supra., the information

 obtained by the IRS as a consequence of its investigation “is readily available” to assist the

 efforts of federal law enforcement authorities.

        In Herre, the Florida Supreme Court found this element of the constitutional difficulty

 violated when the statute allowed the taxing authorities to provide the incriminating information

 “to state and federal law enforcement officials as long as those officials present a subpoena.”

 Herre, 935 So. 2d at 620. Thus, “[i]n violation of one of the principles established in Marchetti,

 Florida's statutory scheme requires taxpayers to disclose information they ‘might reasonably

 suppose would be available to prosecuting authorities.’” Herre, 935 So. 2d at 620-621.

        Likewise, under Section 280E, incriminating evidence is being summonsed by the IRS,

 e.g., METRC. Clearly, the Taxpayers “might reasonably suppose [the information] would be

 available to prosecuting authorities”. This is especially so given the fact that the IRS has been

 unwilling to grant immunity and has asserted that it has the duty to share this information with

 law enforcement.

        The Government may contend that there is nothing on the federal tax return forms that

 compels the taxpayer to provide incriminating evidence. This is not the case. Federal tax returns

 must be signed by an individual under penalty of perjury. 26 U.S.C. §7206. Section 280E

 provides that a taxpayer cannot take any “below the line” deductions if the taxpayer is engaged

 in unlawful drug trafficking. Unlawful drug trafficking is the only business that has such a

 restriction in the Tax Code. All other business, lawful and unlawful, have “reasonable and

 necessary” business expenses, such as rent, salaries, taxes, depreciation, and utilities which may

 be deducted under IRC Section 162. Unlawful drug traffickers are the only business taxpayers




                                                   23
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 24 of 35




 who will file a return with no “below the line” deductions. Of course, the corresponding tax rate

 increases tremendously. Thus, one simple step of deductive reasoning in reviewing the return (no

 below the line deductions) will reveal that the taxpayer is engaged in unlawful drug trafficking

 activity. This is a “link in the chain” of incriminating evidence against the taxpayer.

         The Florida Supreme Court followed the same analysis in a similar setting:

         “Because the form does not require disclosure of the taxpayer's occupation or the
         nature of his business, the Department contends that the form does not require the
         taxpayer to differentiate between legal and illegal transactions. However, the fifty
         percent tax rate is only applied to those engaged in illegal activities, while the
         standard six percent sales tax rate is applied to all other transactions. Thus, one
         simple step of deductive reasoning would reveal that if a taxpayer collects $
         100,000 in gross sales and pays $ 50,000 in sales tax, the tax clearly is being paid
         on an illegal drug sale. The taxpayer's signature on the form, which serves as an
         admission that the taxpayer has participated in criminal activity, provides a link in
         the chain of incriminating evidence against him.”

 Herre, 935 So. 2d at 620.

                     3. The Danger of Using the Tax Power to Investigate Nontax Crimes.

         As way of background, the federal courts have generally provided a relaxed standard of

 Fourth and Fifth Amendment protections when faced with a tax power investigation. See, e.g.,

 United States v. Powell, 379 U.S. 48 (1964) (No probable cause necessary for searches under the

 tax summons power); United States v. Lehman, 468 F.2d 93 (7th Cir. 1972) (Miranda warnings

 unnecessary in criminal tax investigations, but tax agents may not by fraud or deceit

 misrepresent that the interview is strictly civil). However, unchecked, great abuses of Fourth and

 Fifth Amendment rights would occur if the tax power is used to investigate nontax crimes. This

 is where the constitutional difficulty lies.

         If the IRS is allowed to use the tax power to investigate nontax crimes for tax

 administration purposes, basic constitutional rights would be infringed. Since the IRS asks for

 the power to investigate an area permeated with criminal statutes, the request must be analyzed



                                                  24
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 25 of 35




 by the necessary constitutional limitations. Thus, if Congress delegates its tax power to allow the

 IRS to investigate inherently criminal activity for tax administration purposes, it must either

 prohibit the IRS from sharing the incriminating information with law enforcement, or provide

 absolute immunity from prosecution. Section 280E does neither.

        The METRC information sought by is clearly information which may be used to

 incriminate in a criminal proceeding, and could be readily used to incriminate Mr. Wemhoff.

 This incriminating information may be shared by IRS with law enforcement. See 26 U.S.C.

 Section 6103(i)(3)(A)(i) (“[T]he Secretary may disclose in writing return information (other than

 taxpayer return information) which may constitute evidence of a violation of any Federal

 criminal law (not involving tax administration) to the extent necessary to apprise the head of the

 appropriate Federal agency charged with the responsibility of enforcing such law”). In fact, in

 other proceedings, the Government has strongly defended the right to share the incriminating

 information obtained with law enforcement.

        Under Section 280E, the tax power can be used to compel incriminating information and

 share with law enforcement. Law enforcement would not have access to this information absent

 full compliance with the Fourth and Fifth Amendments. Thus, the use of the tax power to compel

 the information would operate as an end run around the Fourth and Fifth Amendment.

 Constitutional rights may not be eroded by "ingeniously drawn legislation”. Marchetti, at 52.

        Given that Section 280E allows the IRS to investigate violations of federal criminal drug

 laws, and does not prohibit the sharing of the incriminating information with law enforcement,

 Section 280E is unconstitutional. Because any investigation pursuant to an unconstitutional law

 would be an improper purpose under Powell, the summonses should be quashed.

            E. The Summonses Compel Information for Which There is a Reasonable
               Expectation of Privacy in Violation of the Fourth Amendment.



                                                 25
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 26 of 35




        As discussed above, any information provided to MED by the Petitioners is confidential.

 It is a state law crime to disclose this information. Thus, the Petitioners have a reasonable

 expectation of privacy to the information (assuming it does exist), and are privileged.

 Fed.R.Evid. 501; Judd v. Cedar St. Venture, 256 P.3d 687, 691 (Colo. 2011); see also Jaffee v.

 Redmond, 518 U.S. 1 (1996) (A rule that authorizes the recognition of new privileges on a case-

 by-case basis makes it appropriate to define the details of new privileges in a like manner.)

 Additionally, seeking information of non-tax crimes requires a warrant and a finding of probable

 cause. Therefore, the Fourth Amendment prohibits disclosure of the summonsed information.

                    1. The Information Compelled Is Privileged and Private.

        Potential Fourth Amendment violations are an issue which should be addressed when

 considering enforcement of a summons. United States v. Beacon Federal Sav. & Loan, 718 F.2d

 at 53. If granting enforcement of a summons results in an unconstitutional search, the summons

 should not be enforced. “[T]he court would be furthering the effects of, if not actually

 encouraging, unconstitutional conduct and that by doing so, the taxpayer may suffer from the

 unconstitutional conduct in ways that cannot later be remedied.” Id. at 54.

        In the instant case, the government is attempting to obtain control of Petitioners’ private

 data purportedly contained in the MED database. The information allegedly provided by the

 Petitioners to MED is confidential and statutorily protected from disclosure.

        The Fourth Amendment protects people from unreasonable searches and seizures of

 property, including data 2 of persons and objects, in which they have a subjective expectation of

 privacy that is deemed reasonable in public norms. U. S. Const. amend. IV. Using the two-prong



 2
  Data is considered property for Fourth Amendment purposes. United States v. Comprehensive
 Drug Testing, Inc., 621 F.3d 1162 (9th Cir. 2008).


                                                 26
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 27 of 35




 expectation of privacy test developed in Katz v. United States, 88 S.Ct. 507 (1967), a person

 must have exhibited an actual expectation of privacy and the expectation must be one that

 society in general would recognize as reasonable. If these requirements are both met, then Fourth

 Amendment procedural protections apply.

         A person has a subjective expectation of privacy if the person can show that the

 information sought was kept in a manner to conceal it from the public. Id. In the instant case, the

 Colorado Revised Statutes compel those who are subject to the regulation to submit plant

 tracking information to MED, which is placed into the METRC database to allow MED to follow

 the chain of custody of the plants. C.R.S. 12-43.4.202(1)(h). The licensees do not voluntarily

 give this information; rather, those subject to the regulations face state criminal penalties for

 failure to report to the MED. Further, C.R.S. 12-43.4.202(1)(d) provides that the MED must

 maintain the confidentiality of reports or other information obtained from a licensee. Finally,

 C.R.S. 12-43.3-210(5) provides: “Any person who discloses confidential records or information

 in violation of the provisions of this article commits a class 1 misdemeanor and shall be punished

 as provided in section 18-1.3-501, C.R.S.” Thus, the Petitioners have an expectation of privacy

 in their data.

         The second part of the test asks whether society at large would deem a person's

 expectation of privacy to be reasonable. Katz, supra. Here, the information sought is kept in a

 manner where one would reasonably expect lack of public access. Moreover, the Colorado

 legislature has safeguarded taxpayers’ privacy through the above-mentioned statutes. Therefore,

 Petitioners have a reasonable expectation of privacy.




                                                 27
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 28 of 35




                    2. Seeking Information of Nontax Crimes Requires a Warrant and a
                       Finding of Probable Cause.

        The Fourth Amendment states: “no Warrants shall issue, but upon probable cause,

 supported by Oath or affirmation, and particularly describing the place to be searched, and the

 persons or things to be seized.” U. S. Const. amend. IV. However, the Fourth Amendment

 protections are relaxed with respect to tax administration in order to ensure compliance with the

 revenue laws. See generally Powell, supra. See also United States v. Roundtree, 420 F.2d 845,

 850 (5th Cir. 1969).

        If the IRS was simply seeking information regarding income, expenses, or even tax fraud,

 the relaxed standard would apply. However, the IRS is searching for documents supporting

 nontax crimes – the distribution or sale of marijuana. Therefore, in this context, “a summons

 submitted to a court for enforcement is at least equivalent to a search warrant.” Id. Accordingly,

 the Fourth Amendment protections apply.

        Since the IRS is seeking information of nontax crimes, the IRS will need to seek a

 warrant and not merely a summons to obtain this information.

        “Powell did not explicitly consider constitutional limitations on the
        Commissioner's power. But in our view, Camara v. Municipal Court, 1967, 387
        U.S. 523, 87 S. Ct. 1727, 18 L. Ed. 2d 930, and See v. City of Seattle, 1967, 387
        U.S. 541, 87 S. Ct. 1737, 18 L. Ed. 2d 943, two recent fourth amendment
        decisions, compel no different result. In those two cases the Court set out to
        "reexamine whether administrative inspection programs, as presently authorized
        and conducted, violate Fourth Amendment rights". 387 U.S. at 525, 87 S. Ct. at
        1729. The Supreme Court in Camara found that the fourth amendment's basic
        purpose is "to safeguard the privacy and security of individuals against arbitrary
        invasions by governmental officials". 387 U.S. at 528, 87 S. Ct. at 1730. The use
        of a search warrant is necessary, the Court ruled, even in a case where the state
        court had found that the search was "'part of a regulatory scheme which is
        essentially civil rather than criminal in nature, * * * [and the] right of inspection *
        * * is limited in scope and may not be exercised under unreasonable conditions'".
        387 U.S. at 528, 87 S. Ct. at 1730.”

 Id. at 849 (5th Cir. 1969).



                                                  28
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 29 of 35




        Thus, for the IRS to compel the information of inherently criminal nontax activity, it

 must obtain a warrant.

        Given that the Petitioners have a reasonable expectation of privacy and the IRS has not

 obtained a warrant, the court should not enforce the summons and allow the IRS to access

 information in a way that will allow the IRS to violate the Petitioners’ Fourth Amendment rights.

            F. The Request for “All Associated Licensees Related to the Individuals and
               Entities Listed” Is Unenforceable Because It Is Overbroad.

        It is well established that “[a] summons will be deemed unreasonable and unenforceable

 if it is overbroad and disproportionate to the ends sought.” United States v. Coopers & Lybrand,

 550 F.2d 615, 621 (10th Cir. 1977), citing United States v. Harrington, 388 F.2d 520, 523 (2d

 Cir. 1968). The IRS may not use its summons power to conduct a “fishing expedition” on the

 records of third parties only tangentially related to the finding of taxpayer’s income and

 expenses. United States v. Coopers & Lybrand, 550 F.2d at 619-20.

        Although the IRS has broad investigatory powers under 26 U.S.C. § 7602, taxpayers are

 afforded a substantial protection by the requirement in 26 U.S.C. § 7604 that IRS summonses be

 enforced by the courts. Id. at 620, citing United States v. Bisceglia, 420 U.S. 141, 143 (1975);

 see also, Reisman v. Caplin, 375 U.S. 440, 445-46 (1964). As the Harrington court emphasized,

 the “judicial protection against the sweeping or irrelevant order is particularly appropriate in

 matters where the demand for records is directed not to the taxpayer but to a third-party who may

 have some dealings with the person under investigation.” United States v. Coopers & Lybrand,

 550 F.2d at 621 (emphasis added), citing United States v. Harrington, 388 F.2d at 523.

        In the instant case, the IRS is asking this Court to enforce an overbroad summons.

 Specifically, the summons issued to the MED requests “all associated licensees related to the

 individuals and entities listed” for the period of January 1, 2013 through December 31, 2016.



                                                29
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 30 of 35




 Thus, the IRS is requesting the identity of third parties who may have dealt with the Petitioners

 in the past

         Information about third-parties “associated” with the Petitioners goes way beyond

 information needed to determine Petitioners’ income and expenses. The Government does not

 explain how the identity of these other third parties will help in this audit. However, seeking the

 identity of other unknown third parties who may have dealt with the Petitioners is not a proper

 purpose of these summonses.

         In order to obtain the identities of these third parties, the IRS must comply with the

 provisions of 26 USC 7609(f) regarding John Doe summonses. In particular, the IRS must

 demonstrate:

               1) The summons relates to the investigation of a particular person or ascertainable
                  group or class of persons;

               2) There is a reasonable basis for believing that such person or group or class of
                  persons may fail or may have failed to comply with any provision of any internal
                  revenue law; and,

               3) The information sought to be obtained from the examination of the records or
                  testimony (and the identity of the person or persons with respect to whose liability
                  the summons is issued) is not readily available from other sources.

 26 U.S.C. § 7609(f)

         The IRS has not demonstrated any of the above to be present in this case. Thus, the IRS

 should not be allowed to obtain the identify of other third parties with which the Petitioners may

 have dealt.

         Given the above, the request to the MED for “all associated licensees related to the

 individuals and entities listed” is overbroad and accordingly should not be enforced.




                                                   30
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 31 of 35




             G. The Court Should Not Use its Power to Compel Individuals to Commit a
                State Law Crime.

         As explained above, the information allegedly provided by the Petitioners to the MED is

 confidential and statutorily protected from disclosure. C.R.S. 12-43.3-202(d). In fact, the

 disclosure of the information sought will be a Colorado state-law crime, punishable by both fine

 and imprisonment. C.R.S. 12-43.3-201(5). Since the state government necessarily operates

 through individuals, this means that one or more person would have to commit criminal activity

 if the Court compels disclosure of the data. Thus, the IRS seeks this Court to compel state-

 employee individuals to commit a state-law crime by disclosing this information.

         The Court should be wary of using its powers to compel a state crime. See Younger v.

 Harris, 401 U.S. 37 (1971); United States v. Barone, 781 F. Supp. 1072 (E.D. PA 1991) (Under

 principles of comity, absent exceptional circumstances, the court should refrain from enjoining

 criminal prosecutions of state law crimes). Thus, the Court should refrain from compelling the

 disclosure of the MED data.

             H. The IRS’s Summons Power Does Not Extend to Forcing a Party to Prepare
                or Create Documents.

         In the summonses at issue, the “reports” the IRS is demanding are not documents that

 were created by the Petitioners. See Declaration of Carl Wemhoff, attached hereto. Petitioners do

 not believe that these documents are created in the normal course of business by the State.

 Moreover, there is no evidence that these analytical reports were created by the State during the

 relevant time. The IRS has the burden to prove that the “reports” were in existence on the date

 the summons was issued. However, the IRS can present no evidence that the reports requested

 currently exist. Rather, the reports summoned are analytical reports which the IRS seeks to have

 the State create.




                                                31
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 32 of 35




        The IRS’s summons power does not extend to forcing the preparation or creation of

 documents. United States v. Davey, 543 F.2d 996, 1000 (2d Cir. 1976) (The IRS’s summons

 power under “§ 7602 does not require preparation or production of records not yet in

 existence”.); see also Internal Revenue Manual, 5.17.6.1.3 (“A summons cannot require a

 witness to prepare or create documents, including tax returns, that do not currently exist.”). “We

 wish to emphasize that the burdens of production and proof on the questions of the existence,

 possession, and authenticity of the summoned documents are on the Government, not the

 taxpayer.” United States v. Rue, 819 F.2d 1488, 1493 n.4 (8th Cir. 1987). Furthermore, the date

 of the service of the summons is the date used to determine the existence of the documents for

 this inquiry. Id. at 1493; see also, United States v. Greenfield, 831 F.3d 106, 124 (2d Cir. 2016)

 (quoting Rue “The relevant date on which existence and possession of the documents must be

 shown is the date on which the IRS summons is served, for it is at that time that the rights and

 obligations of the parties become fixed").

        In his order, issued on October 26, 2017, Judge Moore addresses this precise issue:

        Petitioner’s next argument, again to the extent it is an illegitimate purpose
        argument, is that the IRS is seeking to force MED to create reports that do not
        otherwise exist. (See ECF No. 20at 13-14.) In reply, respondent asserts that it is
        simply summoning MED to print “specific reports” from a database of
        information MED already possesses. (ECF No. 21 at 4-5.)

        Put simply, the summons requests what the summons requests. Should the items
        requested exist and be in MED’s possession, then MED should be expected to
        produce that which has been requested. To take the analogy used by respondent,
        should MED possess something akin to a bank statement (see ECF No. 21 at 4)—
        i.e., something which is produced by a bank as a matter of course with respect to
        an account holder—containing the information respondent seeks, then compliance
        with the summons should be expected. If, however, the summons should require
        MED to produce a report that it would not ordinarily or otherwise produce from
        its database of information, then respondent very well may find itself having to
        process that information itself. In other words, in such a situation, MED may only
        need to produce the entirety of the database of information because that is the
        only document or data source that MED has created and possesses. Merely



                                                32
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 33 of 35




        because MED could produce a report from its database does not mean that it has
        or that respondent can force MED to do so. See United States v. Euge, 444 U.S.
        707, 717 n.11, 100 S.Ct. 874 (1980) (noting that, although the IRS had authority
        to seek handwriting exemplars, the Supreme Court expressed “no opinion on the
        scope of the [IRS’] authority to otherwise order [a] witness to generate previously
        nonexistent documentation”).

 See Exhibit 9, pg. 4. Rifle Remedies, LLC v. USA, Case No. 1:17-mc-00062-RM, United States
 District Court for the District of Colorado.

        The Government may try to state that the reports are like bank records which can be

 summonsed even though they may be in electronic form. However, this is not the case. Bank

 statements, signature cards and the like are documents which are created by the bank in the

 ordinary course of business and simply stored electronically. These pre-existing documents are

 simply being transmitted in the event they are summonsed. In his order issued October 26, 2017

 Judge Moore again addresses this exact issue:

        Again using respondent’s analogy, merely because a bank may produce a bank
        statement for an account holder does not mean that the bank must perform a
        search through the data therein to produce a different set of information, at least
        not when the bank would not ordinarily or otherwise do so. Rather, it would
        appear to be the IRS’ responsibility to sort through the produced bank statement
        to obtain that which it is looking for.

 See Exhibit 9, pg. 5, footnote 2. Rifle Remedies, LLC v. USA, Case No. 1:17-mc-00062-RM,
 United States District Court for the District of Colorado.

         In this case, the Government wants analytical reports created from raw data that are not

 known to be made in the ordinary course of business. Since the reports are not currently in

 existence (neither now nor on the date of the summons), the Government cannot compel the

 creation of these “reports”.

        While it may be helpful to the IRS to have the State create analytical research for the

 IRS’s use and pleasure, it is beyond the power of the IRS to force the creation of these

 documents. Id. This is true, even though the IRS believes, based upon agents’ training, that the




                                                 33
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 34 of 35




 METRC database engine can create the analytical reports. The power to force the creation of the

 analytical reports is not there.

 IV.     CONCLUSION

         Given the above, the Respondent’s Summonses should be Quashed.

                                     RELIEF REQUESTED

         WHEREFORE, Petitioners request the following relief in their favor:

             a) An order quashing the Summonses, attached as Exhibit 2; or,

             b) An order scheduling an evidentiary hearing to determine if the IRS has satisfied

                 the Powell standard for enforcement of the Summons; and,

             c) For such other relief as the Court deems just and proper.



 DATED: April 10, 2018

                                                             Respectfully submitted,

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                                                 34
Case No. 1:18-mc-00030-PAB Document 7 filed 04/10/18 USDC Colorado pg 35 of 35




                                CERTIFICATE OF SERVICE

 I hereby certify that on April 10, 2018, I electronically filed the above and foregoing using the
 CM/ECF system which will send notification to the following email address:

 Charles J. Butler
 Trial Attorney, Tax Division
 U. S. Department of Justice
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 Washington, DC 20044



                                                                    s/ James D. Thorburn




                                                35
